                  Case 2:22-cv-00771-JLR Document 8 Filed 07/01/22 Page 1 of 2




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                                                               HONORABLE THERESA L. FRICKE
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 7                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT SEATTLE
 9   ROTHSCHILD BROADCAST
10   DISTRIBUTION SYSTEMS, LLC,                     No.: 2:22-cv-00771-TLF

11                    Plaintiff,                    PLAINTIFF’S MOTION FOR ORDER OF
                                                    DEFAULT
12           v.
13   CREATIVELIVE, INC.,                            NOTE ON MOTION CALENDAR: 07/01/2022
14
                      Defendants(s).
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             Pursuant to Fed. R. Civ. P. 55(a) and Local Civil Rule 55, Plaintiff Rothschild Broadcast
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     Distribution Systems, LLC (“Plaintiff” and/or “RBDS”) hereby moves for an Order of Default.
19
20   Plaintiff requests that the Clerk enter the default of Defendant CreativeLive, Inc., as the party
21   against whom a judgment is sought that has failed to plead or otherwise defend, and that failure is
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     shown by the Declaration of Samuel M. Meyer submitted contemporaneously herewith.
23
24           Wherefore, Plaintiff respectfully prays that this Motion be granted and that an order of
25   default be entered against Defendant CreativeLive, Inc.
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      PLAINTIFF’S MOTION FOR ORDER OF DEFAULT - 1                          MEYLER LEGAL, PLLC
      (Case No. 2:22-cv-00771-TLF)                                    1700 WESTLAKE AVE. N., STE 200
                                                                       SEATTLE, WASHINGTON 98109
                                                                    TEL: (206) 876-7770  FAX: (206) 876-7771
                Case 2:22-cv-00771-JLR Document 8 Filed 07/01/22 Page 2 of 2




     Dated: July 1, 2022.
 1
 2                                                        MEYLER LEGAL, PLLC
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 4                                                         /S/ SAMUEL M. MEYLER
                                                          SAMUEL M. MEYLER, WSBA #39471
 5                                                        1700 Westlake Ave. N., Ste. 200
 6                                                        Seattle, WA 98109
                                                          Tel: 206-876-7770
 7                                                        Fax: 206-876-7771
 8                                                        E-mail: samuel@meylerlegal.com
                                                          Counsel for Plaintiff Rothschild Broadcast
 9                                                        Distribution Systems, LLC
10
                                      CERTIFICATE OF SERVICE
11
12           I hereby certify that on July 1, 2022, I electronically transmitted the foregoing document
     using the CM/ECF system for filing, which will transmit the document electronically to all
13   registered participants as identified on the Notice of Electronic Filing, and paper copies have
14   been served on those indicated as non-registered participants.

15                                                         /S/ SAMUEL M. MEYLER
16                                                        SAMUEL M. MEYLER, WSBA #39471

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      PLAINTIFF’S MOTION FOR ORDER OF DEFAULT - 2                           MEYLER LEGAL, PLLC
      (Case No. 2:22-cv-00771-TLF)                                     1700 WESTLAKE AVE. N., STE 200
                                                                        SEATTLE, WASHINGTON 98109
                                                                     TEL: (206) 876-7770  FAX: (206) 876-7771
